              Case 24-11580-pmm                    Doc 1         Filed 05/08/24 Entered 05/08/24 17:05:30                               Desc Main
                                                                Document      Page 1 of 10

Fill in this information to identify your case:


United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would
be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between
them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the
forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Homer
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Daney
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4572
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Homer Daney                                                                               Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 510 Nazareth Pike
                                 Nazareth, PA 18064
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Northampton
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any     here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                       address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                 Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other           Over the last 180 days before filing this petition, I have
                                       district.                                                      lived in this district longer than in any other district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Homer Daney                                                                                     Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under     Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                          order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but
                                          is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                          applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the
                                          Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the last      Yes.
     8 years?
                                               District    ED of PA                      When     8/1/19                   Case number      19-14836
                                               District    ED of PA                      When     9/9/21                   Case number      21-11637
                                               District    See Attachment                When                              Case number



10. Are any bankruptcy               No
    cases pending or being           Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an affiliate?
                                               Debtor                                                                    Relationship to you
                                               District                                  When                            Case number, if known
                                               Debtor                                                                    Relationship to you
                                               District                                  When                            Case number, if known



11. Do you rent your                 No.        Go to line 12.
    residence?                       Yes.       Has your landlord obtained an eviction judgment against you?
                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                          bankruptcy petition.




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Debtor 1    Homer Daney                                                                                    Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time          No.      Go to Part 4.
    business?
                                       Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as an                 Name of business, if any
     individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                          Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under            If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
    Chapter 11 of the               under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
    Bankruptcy Code, and            choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
    are you a small business        statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
    debtor or a debtor as           1116(1)(B).
    defined by 11 U.S. C. §             No.         I am not filing under Chapter 11.
    1182(1)?
    For a definition of small          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                       Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and I
                                                do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any             No.
    property that poses or is          Yes.
    alleged to pose a threat of
    imminent and identifiable                 What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                   If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Homer Daney                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                 I received a briefing from an approved credit
     the following choices. If           counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     you cannot do so, you are           filed this bankruptcy petition, but I do not have a           this bankruptcy petition, but I do not have a certificate
     not eligible to file.               certificate of completion.                                    of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment           MUST file a copy of the certificate and payment plan, if
     will lose whatever filing fee       plan, if any.                                                 any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                     from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied with
                                                                                                       your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                    bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.       a certificate from the approved agency, along with a copy
                                         You must file a certificate from the approved                 of the payment plan you developed, if any. If you do not do
                                         agency, along with a copy of the payment plan you             so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case may
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be unable                My physical disability causes me to be unable to
                                               to participate in a briefing in person, by phone,            participate in a briefing in person, by phone, or
                                               or through the internet, even after I                        through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Homer Daney                                                                                     Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after       Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     any exempt property is                  are paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                     No
     are paid that funds will be                 Yes
     available for distribution
     to unsecured creditors?

18. How many Creditors do             1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you             50-99                                            5001-10,000                                   50,001-100,000
    owe?                              100-199                                          10,001-25,000                                 More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                         $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                   $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to      $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    be?                               $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document,
                                   I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Homer Daney
                                   Homer Daney                                                       Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      May 8, 2024                                      Executed on
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Homer Daney                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
If you are not represented by   in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Charles Laputka                                                Date          May 8, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Charles Laputka 91984
                                Printed name

                                Laputka Law Office
                                Firm name

                                1344 Hamilton St
                                Allentown, PA 18102-4329
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                Email address         claputka@laputkalaw.com
                                91984 PA
                                Bar number & State




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Debtor 1         Homer Daney                                                                        Case number (if known)


Fill in this information to identify your case:

Debtor 1                 Homer Daney
                         First Name               Middle Name             Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name             Last Name


United States Bankruptcy Court for the:    EASTERN DISTRICT OF PENNSYLVANIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                              Case Number                        Date Filed
ED of PA                                                              19-14836                           8/1/19
ED of PA                                                              21-11637                           9/9/21
ED of PA                                                              22-13306                           2/16/24




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                            AT&T
                            PO BOX 537104
                            Atlanta, GA 30353


                            Commonwealth of PA - Dept of Labor & Ind
                            1315 Labor & Industry Blvd - 7th & Foste
                            Harrisburg, PA 17121


                            Commonwealth of PA - Dept of Revenue
                            Bureau of Compliance - Lien Section
                            PO Box 280948
                            Harrisburg, PA 17128-0948


                            David J. Apothaker, Esq
                            520 Fellowship Road, Suite C 306
                            Mount Laurel, NJ 08054-3410


                            Gary N. Asteak, Esquire
                            726 Walnut St
                            Easton, PA 18042


                            KML Law Group, P.C.
                            701 Market Street, Suite 5000
                            Philadelphia, PA 19106


                            Lower Nazareth Township
                            623 Municipal Drive
                            Nazareth, PA 18064


                            Lower Nazareth Township
                            c/o Keystone Collections Group
                            546 Wendel Road
                            Irwin, PA 15642


                            LVNV Funding LLC
                            625 Pilot Road - Ste 3
                            Las Vegas, NV 89119


                            Nazareth Area School Distict
                            c/o Keystone Collections Group
                            546 Wendel Road
                            Irwin, PA 15642


                            Orthopaedic Assocaites of Allentown LTD
                            1243 S Cedar Crest Blvd - 2nd Floor
                            Allentown, PA 18103


                            PA Department of Revenue
                            Bankruptcy Division PO Box 280946
                            Harrisburg, PA 17128-0946


                            Portfolio RC
                            120 Corporate Blvd suite 100
                            Norfolk, VA 23502
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                            Select Portfolio Servicing Inc
                            PO Box 65250
                            Salt Lake City, UT 84165-0250
